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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
                                            §
VS.                                         §     CRIMINAL NO. H-11-165
                                            §
CATHERINE SANOUBANE                         §
JOSE MIGUEL BATISTA                         §
DIN REGINA CHANEY                           §
DENNIS HANNAH JR.                           §
NATHANIEL GORDON III                        §

                                        ORDER

       The government filed an unopposed motion for continuance of the sentencing

hearings, (Docket Entry No. 195).The motion for continuance is GRANTED. The sentencing

hearing is reset to October 24, 2013 at 9:00 a.m. Probation will disclose the presentence

report by September 16, 2013. Objections to the report are to be filed by October 11, 2013.



             SIGNED on May 9, 2013, at Houston, Texas.

                                                ______________________________________
                                                         Lee H. Rosenthal
                                                   United States District Judge
